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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 23-20500-CR-ALTMAN


  UNITED STATES OF AMERICA,

  vs.

  ANGELO AGUSTIN COELLO CLEMENTE,

        Defendant.
                                        /

            FEDERAL PUBLIC DEFENDER’S UNOPPOSED
  MOTION TO WITHDRAW AND TO APPOINT CONFLICT-FREE COUNSEL

        The Office of the Federal Public Defender respectfully submits this unopposed

  motion to withdraw and asks the Court to appoint conflict-free counsel. In support

  of this motion, undersigned counsel states as follows:

        1.     On April 18, 2024, the Federal Public Defender was appointed to

  represent Mr. Angelo Agustin Coello Clemente. (DE 14; see also DE 17 & 18). Mr.

  Coello Clemente is charged in a four-count indictment with conspiracy to commit

  computer fraud, in violation of 18 U.S.C. § 371; computer fraud, in violation of 18

  U.S.C. § 1030(a)(4); conspiracy to commit access device fraud, in violation of 18 U.S.C.

  § 1029(b)(2); and access device fraud, in violation of 18 U.S.C. § 1029(a)(2). (DE 3).

        2.     It has come to the attention of undersigned counsel that a conflict of

  interest exists between Mr. Coello Clemente and a former client of the Office of the

  Federal Public Defender. Due to the nature of the conflict, and following consultation

  with Chief Assistant Federal Public Defender Helaine Batoff, the undersigned


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  respectfully requests that this Court discharge the Federal Public Defender and

  appoint independent counsel to represent Mr. Coello Clemente in this matter.

         3.     Mr. Coello Clemente is entitled to conflict-free representation pursuant

  to both the Sixth Amendment’s guarantee of effective assistance of counsel, see Cuyler

  v. Sullivan, 446 U.S. 335 (1980); Halloway v. Arkansas, 435 U.S. 475 (1978);

  McConico v. Alabama, 919 F.2d 1543 (11th Cir. 1990), and the Rules Regulating the

  Florida Bar, see Fla R. Prof’l Resp. 4-1.7(a) (current clients) (“A lawyer must not

  represent a client if: (1) the representation of client 1 will be directly adverse to

  another client; . . . .”); Id. at 4-1.9 (former clients) (“A lawyer who has formerly

  represented a client in a matter must not afterwards: (a) represent another person in

  the same or a substantially related matter in which that person’s interests are

  materially adverse to the interests of the former client unless the former client gives

  informed consent; . . .”).1

         4.     Public defender offices are analyzed as law firms for purposes of imputed

  conflicts of interest; therefore, if any lawyer within the office would be prohibited from

  representing a client, all members of the office are prohibited from knowingly

  representing that client. See Fla R. Prof’l Resp. 4-1.10(a); Cmt. To Fla R. Prof’l Resp.

  4-1.1 (“firm” includes legal services organizations).

         5.     The Office of the Federal Public Defender and undersigned counsel have

  a conflict of interest as to the continued representation of Mr. Coello Clemente




         1 This Court’s Local Rules incorporate the Florida Bar’s Rules of Professional

  Conduct. See S.D. Fla. Local Rule 11.1(c) (Rev. Dec. 1, 2022).
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  because of its duty to a former client, as described above.

        6.     Accordingly, undersigned respectfully requests that this Court permit

  the Office of the Federal Public Defender to withdraw, and appoint conflict-free

  counsel. Cf. Wheat v. United States, 486 U.S. 153, 163 (1988); United States v. Ross,

  33 F.3d 1507, 1523 (11th Cir. 1994).

        7.     Undersigned counsel has discussed the conflict with Assistant United

  States Attorney Jacob Koffsky and the instant motion to withdraw, and he has

  advised that the government does not oppose the relief sought herein.

        WHEREFORE, undersigned counsel respectfully requests that the Court allow

  the Office of the Federal Public Defender to withdraw from representation of Mr.

  Coello Clemente and appoint substitute, conflict-free counsel.


                                   Respectfully submitted,

                                   HECTOR DOPICO
                                   INTERIM FEDERAL PUBLIC DEFENDER

                                   By:     /s/ Alexandra Hoffman
                                          Assistant Federal Public Defender
                                          Florida Bar No.: 1011796
                                          150 W. Flagler Street, Suite 1700
                                          Miami, Florida 33130-1556
                                          Tel: (305) 530-7000
                                          E-mail: alexandra_hoffman@fd.org

                                   By:     /s/ Christian Dunham
                                          Assistant Federal Public Defender
                                          Florida Bar No.: 0146587
                                          150 W. Flagler Street, Suite 1700
                                          Miami, Florida 33130-1556
                                          Tel: (305) 530-7000
                                          E-mail: Christian_dunham@fd.org


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                             CERTIFICATE OF SERVICE

        I HEREBY certify that on May 2, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified

  in the manner specified, either via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or

  parties who are not authorized to receive electronically Notices of Electronic Filing.


                                          /s/ Alexandra Hoffman




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